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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

uNiTEo sTATEs oF AMERicA, Piaimifr, ) CRIMINAL case No. é` l@£y§§ jgj
)

) ORDER AND CONDITIONS OF PRETRIAL

V.
ghi/icf /3]`57\,7[667 P€,/RS Defendam. ) RELEASE=BAIL(isU.S.c.§3142(¢))

A hearing was held id determine[ pretrial conditions of release of the defendant ursuant to 18 U.S.C. § 3142. The Federal Judge
detemiined an unconditional release pursuant to 18 U.S.C.§ 3142(b) is not su ieient to assure the appearance of the defendant and the

safety of the community Thus, conditions of pretrial release are necessary pursuant to 18 U.S.C.§ 3142(c). Good cause appearing,
IT IS ORDERED that the defendant shall be released subject to the condition that the defendant: (a) not commit a

federal, state or local crime during the period 0 release, (b) make all court a pearances and (c) comply with

the conditions itemized below, as indicated by /), in accordance with 18 U. .C.§ 3142(c)(2).'

STANDARD CONDITIONS:

L l. restrict travel to 0 San Diego County, Wrn District of Califomia, E] Central District of Califomia,
Cl State of California, Cl United States, do not enter Mexico, El other: ;

__/__ 2. report for supervision to Pretrial Services Ageney (PSA) as directed by the assigned PSO and pay for the
reasonable costs of supervision in an amount determined by PSA and approved by the Court;

__{_ 3. not possess or use any narcotic drug or controlled substance, (defined in 21 U.S.C. § 802), without
a lawful medical prescription;

L_ 4. not possess any firearm, dangerous weapon or destructive device during the pendency of the case;

_/_ 5. read, or have explained, and acknowledge understanding of the Advice of Penalties and Sanctions Form;

L 6. proiéi_de a current residence address and phone number prior to release and keep it current while case
pen ing.

ADDITIONAL CONDITIONS:

_ 7. be able to legally remain in the United States during pendency of the proceedings;

_ 8. submit to treatment, and/or testing, as specified by the PSO, for:

Cl drugs or alcohol, and/or Cl psychiatric or sychological counseling;

___ 9. participate in a Global Positioning System ( PS) satellite monitoring program El active Cl passive,
including, release of defendant to PSA custody; and Cl residence restrictions and/or Cl permissive travel for
employment Defendant and sureties are responsible for GPS equipment loss or damage
Cl submit to supervision and custody of ; and/or
Cl remain at a specified residence (curfew) between the hours of P.M. and A.M. daily;

‘_~/10. actively seek and maintain full-time employment, schooling, or combination of both;

_l 1. execute a ersonal apBearance bond in the amount of $ secured by:
Cl a trust eed to the nited States on real estate approved by a Federa_l Judge;
El the co-s§gnatures of financially responsible (related) adults;
e

Cl Nebbia arng l:l Exam of Sureties Cl other:

 

 

 

 

/ .--'
_12. provide the court with: Mcash bond and/or E€recute a bail bond by an ap roved solvent corporate
surety in the amount of $ .?b¢ 000 that covers LL*I: conditions orp release (not just appearances).
_13. 18 U.S.C.§ 3142(d) hold until ; if no detainer is lodged by then, these conditions take effect.
_ 14. clear all warrantsfFTA’s within days of release
_15. all conditions previously set will remain the saine.

_16. other conditions‘.

 

 

 

 

 

 

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ccc Defendant/Counsel & U.S. Pretrial Services

 

 

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